23-10164-smr Doc#302 Filed 09/08/23 Entered 09/08/23 15:48:51 Main Document Pg 1 of
                                         3



                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

  In re:                                        §
                                                §       Case No. 23-10164-smr
  ASTRALABS, INC.,                              §
                                                §       Chapter 7
           Debtor.                              §

      AMENDED CERTIFICATE OF SERVICE FOR MOTION FOR RELIEF FROM
             AUTOMATIC STAY FOR EMPLOYMENT CLAIMANT

           Creditor Elizabeth Bradford, by and through counsel, hereby files this Amended Certificate

  of Service to her Motion for Relief from Automatic Stay for Employment Claimant [Doc. 299] in

  compliance with local rule 9013(c).

                                                        Respectfully submitted,


                                                        ROSS • SCALISE LAW GROUP
                                                        1104 San Antonio Street
                                                        Austin, Texas 78701
                                                        (512) 474-7677 Telephone
                                                        (512) 474-5306 Facsimile
                                                        Nathan@rosslawgroup.com


                                                        /s/ Nathan E. Inurria
                                                        NATHAN E. INURRIA
                                                        Texas Bar No. 24101953

                                                        ATTORNEY FOR
                                                        ELIZABETH BRADFORD




                                               Page 1 of 3
23-10164-smr Doc#302 Filed 09/08/23 Entered 09/08/23 15:48:51 Main Document Pg 2 of
                                         3



                           AMENDED CERTIFICATE OF SERVICE

         The undersigned certifies that on September 8, 2023, he personally caused true and correct

  copies of the Motion for Relief from Automatic Stay of Employment Claimants [Doc. 299] to be

  served by electronically filing with the Court using the Court’s CM/ECF system, which sent

  notification to the parties receiving same through such system.

        Andrew Ryan                                 Randolph N. Osherow
        c/o Ron Satija                              c/o Jay H. Ong and Thanhan Nguyen
        Hayward PLLC                                1717 W. 6th Street, Ste. 250
        7600 Burnet Road, Suite 530                 Austin, Texas 78703
        Austin, TX 78757                            Counsel for Trustee Randolph N.
        Counsel for Andrew Ryan, Debtor             Osherow

        Kevin M. Epstein                            Astralabs, Inc.
        c/o Shane P. Tobin                          c/o Robert Chamless Lane
        U.S. Department of Justice                  6200 Savoy Dr., Ste. 1150
        Office of the U.S. Trustee                  Houston, Texas 77036
        903 San Jacinto Blvd., Rm 230               Counsel for Astralabs, Inc, Debtor
        Austin, Texas 78701
        Counsel for Kevin M. Epstein, U.S.          John Mark Stern
        Trustee                                     Assistant Attorney General
                                                    bk-jstern@oag.texas.gov
        Shanna M. Kaminski                          c/o Sherri K. Simpson, Paralegal
        KAMINSKI LAW, PLLC                          sherri.simpson@oag.texas.gov
        P.O. Box 247                                Attorney General's Office
        Grass Lake, Michigan 49240                  Bankruptcy & Collections Division
        (248) 462-7111                              P.O. Box 12548
        skaminski@kaminskilawpllc.com               Austin, TX 78711-2548
        Counsel for Apex Funding Source, LLC,       Counsel for Texas Comptroller of Public
        Creditor                                    Accounts, Creditor

        Lisa C. Fancher                             Cleveland R. Burke
        Daniel H. Byrne                             Holland & Knight LLP
        FRITZ BYRNE, PLLC                           100 Congress Ave., Suite 1800
        221 West Sixth Street, Suite 960            Austin, Texas 78701
        Austin, Texas 78701                         (512) 685-6400
        Telephone: (512) 476-2020                   Email: cleveland.burke@hklaw.com
        Telecopier: (512) 477-5267
        lfancher@fritzbyrne.law                     Counsel for Capitol Vending and
        dbyrne@fritzbyrne.law                       Coffee Company, Creditor

                                              Page 2 of 3
23-10164-smr Doc#302 Filed 09/08/23 Entered 09/08/23 15:48:51 Main Document Pg 3 of
                                         3



        Counsel for 3423 Holdings, LLC,
        Creditor                             Gregory Siemankowski
                                             Barron & Newburger, P.C.
        Daniela Mondragón, Esq.              7320 N. MoPac Expy., Suite 400
        REED SMITH LLP                       Austin, TX 78731
        1221 McKinney Street, Suite 2100     T: (512) 881-3821
        Houston, TX 77010                    gsiemankowski@bn-lawyers.com
        Telephone: (713) 469-3800            Counsel for Chad Owen, J333
        Facsimile: (713) 469-3899            Ventures, Hasan Koyluoglu, Casey
        E-mail: dmondragon@reedsmith.com     Melcher, Nihar Patel, Sheil Patel Tom
        Counsel for AFCO Credit Corporation, Dolezal, Matthew Kelly, Glenn Hunter,
        Creditor                             Jeremy Phillips, and Marc Russell

        The Lott Firm, PLLC
        501 Congress Avenue, Suite 150
        Austin, TX 78701
        thelottlawfir@gmail.com
        Counsel for Athletes to Athletes, Inc.,
        Creditor



         The undersigned certifies that on September 8, 2023, he personally caused true and correct
  copies of the Motion for Relief from Automatic Stay of Employment Claimants [Doc. 299] to be
  served by First Class Mail.

         The Lott Firm, PLLC
         501 Congress Avenue, Suite 150
         Austin, TX 78701
         Counsel for Athletes to Athletes, Inc., Creditor




                                             Page 3 of 3
